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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
_______________________________________________

VALTUS CAPITAL GROUP, LLC

                     Plaintiff,                                19 Civ. 4737 (DLC)

              v.

PARQ EQUITY LIMITED PARTNERSHIP,
PARQ HOLDINGS LIMITED PARTNERSHIP,
PARQ VANCOUVER LIMITED PARTNERSHIP,
PARQ VANCOUVER ULC, and 1010094 B.C. LTD.,

                  Defendants.
_______________________________________________

                           ORDER OF FINAL JUDGMENT

              WHEREAS the Court granted summary judgment in favor of Plaintiff,

Valtus Capital Group, LLC (“Valtus”), on October 9, 2019, finding that Valtus was

entitled to fees based on the Bridge Loan, Second Interim Advance, and Third Lien Loan

(as those terms are defined in the Court’s October 9, 2019 Order) (Dkt. No. 52); and

              WHEREAS the Court granted summary judgment in favor of Valtus on

December 15, 2020, finding that Valtus was also entitled to fees based on the First

Interim Advance and Second Lien Loan (as those terms are defined in the Court’s

December 15, 2020 Order), as well as for reimbursement of certain related expenses that

were incurred and remain unpaid (Dkt. No. 116).

              THEREFORE final judgment is hereby entered in favor of Valtus and

against Defendants, Parq Equity Limited Partnership, Parq Holdings Limited

Partnership, Parq Vancouver Limited Partnership, Parq Vancouver ULC, and 1010094

B.C. Ltd. (“Defendants”), in the amounts of: (1) CAD$6,679,736.68 (for past due fees);
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and (2) USD$39,752.89 (for expenses). These amounts include pre-judgment interest

accruing: (1) on the past due fees from the dates on which each of the Bridge Loan, First

Interim Advance, Second Interim Advance, Second Lien Loan, and Third Lien Loan

funded until December 30, 2020 at the rate of 9% per annum; and (2) on the incurred and

unpaid expenses from the funding of the Third Lien Loan until December 30, 2020 at the

rate of 9% per annum. The breakdown of these amounts is as follows:

        1.      Bridge Loan: CAD$425,000.00 (past due fee), plus prejudgment interest in
                the amount of CAD$86,455.48, totaling CAD$511,560.27;

        2.      First Interim Advance: CAD$318,750.00 (past due fee), plus prejudgment
                in the amount of CAD$57,689.38, totaling CAD$376,517.98;

        3.      Second Interim Advance: CAD$255,000.00 (past due fee), plus
                prejudgment interest in the amount of CAD$40,115.34, totaling
                CAD$295,178.22;

        4.      Second Lien Loan: CAD$4,553.911.39 (past due fee), plus prejudgment
                interest in the amount of CAD$677,098.00, totaling CAD$5,232,132.28;

        5.      Third Lien Loan: CAD$230,180.34 (past due fee), plus prejudgment in the
                amount of CAD$34,110.83, totaling CAD$264,347.93; and

        6.      Expenses: USD$34,622.17 (expenses), plus prejudgment in the amount of
                USD$5,130.72, totaling USD$39,752.89.1

                IT IS FURTHER ORDERED that, in addition to the above amounts,

Valtus shall recover from Defendants, pursuant to Fed. R. Civ. P. 54(d)(1) and 28 U.S.C.

1961, costs and post-judgment interest on past due fees and expenses, respectively.

Dated this ___
           30 day of ___________,
                      December    2020               ________________________________
                                                     HON. DENISE L. COTE
                                                     UNITED STATES DISTRICT JUDGE

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        The detail for these calculations is provided on the attached Schedule A.


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                                                                             SCHEDULE A


Valtus Capital Group LLC v. Parq Equity Limited Partnership, et al.
Fees/Expenses Owed, Plus Prejudgment Interest                                   $910,180.34                          $160,681.66                            9%


                                                                                                                   Prejudment     Total Amount Owed
                                                                                                                Interest Due at 9% to Valtus (Fees +
                                        Date of                Amount of      Past Due Fee    Per Diem Interest through 12/30/20     Prejudgment
Security                            Closing/Breach           Funding (CAD)   (2.125%) (CAD)         (CAD)             (CAD)         Interest) (CAD)      12/30/2020

1) Bridge Loan                        9/27/2018             $20,000,000.00    $425,000.00         $104.79          $86,455.48        $511,560.27            825
2) First Interim Advance             12/27/2018             $15,000,000.00    $318,750.00         $78.60           $57,689.38        $376,517.98            734
3) Second Interim Advance             4/2/2019              $12,000,000.00    $255,000.00         $62.88           $40,115.34         $295,178.22           638
4) Second Lien Loan                   5/7/2019             $214,301,712.60   $4,553,911.39       $1,122.88        $677,098.00        $5,232,132.28          603
5) Third Lien Loan                    5/9/2019              $10,832,015.99    $230,180.34         $56.76           $34,110.83         $264,347.93           601

Totals                                                     $272,133,728.59   $5,782,841.73       $1,425.91        $895,469.04        $6,679,736.68




                                                                                                                   Prejudment      Total Amount Owed
                                                                                                                Interest Due at 9% to Valtus (Expenses
                                    Date of Final             Amount of                       Per Diem Interest through 12/30/20     + Prejudgment
Other Amounts Owed                 Funding/Breach           Expenses (USD)                          (USD)             (USD)          Interest) (USD)     12/30/2020

1) Expenses                           5/9/2019                $34,622.17                           $8.54            $5,130.72          $39,752.89           601
